             Case 2:18-cr-00266-WBS Document 115 Filed 03/17/20 Page 1 of 2

 1 MCGREGOR W. SCOTT
   United States Attorney
 2 ROBERT J. ARTUZ
   Special Assistant U.S. Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0266-WBS
12                               Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
                                                        CONTINUE SENTENCING HEARING
13                         v.
                                                        DATE: March 23, 2020
14                                                      TIME: 9:00 AM
     ERIC LEMOYNE WILLIS,                               COURT: Hon. William B. Shubb
15

16                               Defendant.

17

18                                              STIPULATION

19         1.      By previous order, the Court set this matter for sentencing as to Defendant Eric Lemoyne

20 Willis on March 23, 2020.

21         2.      The parties request additional time to prepare for the sentencing hearing.

22         3.      By this stipulation, the parties now move to continue the sentencing hearing until

23 September 8, 2020 at 9:00 a.m.

24 / / /

25 / / /

26 / / /
27 / / /

28 / / /


      STIPULATION AND [PROPOSED] ORDER TO CONTINUE      1
30    SENTENCING HEARING
             Case 2:18-cr-00266-WBS Document 115 Filed 03/17/20 Page 2 of 2

 1          4.     The parties also request that the Court suspend the PSR disclosure schedule at the stage

 2 until further notice form the parties and Probation. This request has been discussed with the Probation

 3 Officer and she is in agreement.

 4

 5 IT IS SO STIPULATED.

 6

 7
     Dated: March 13, 2020                                  MCGREGOR W. SCOTT
 8                                                          United States Attorney
 9
                                                            /s/ ROBERT J. ARTUZ
10                                                          ROBERT J. ARTUZ
                                                            Special Assistant U.S. Attorney
11

12
     Dated: March 13, 2020                                  /s/ DANIEL OLSEN
13                                                          DANIEL OLSEN
14                                                          Counsel for Defendant
                                                            ERIC LEMOYNE WILLIS
15

16

17

18                                        FINDINGS AND ORDER

19          The sentencing hearing for Defendant Eric Lemoyne Willis is hereby continued to September 8,

20 2020 at 9:00 a.m., and the PSR disclosure schedule is suspended until further order from the Court.

21

22          IT IS SO ORDERED.

23 Dated: March 16, 2020

24

25

26
27

28


      STIPULATION AND [PROPOSED] ORDER TO CONTINUE      2
30    SENTENCING HEARING
